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                                   1                                UNITED STATES DISTRICT COURT
                                   2                           NORTHERN DISTRICT OF CALIFORNIA
                                   3

                                   4    RAFAEL MATEOS SANDOVAL, et al.,
                                                                                         Case No. 11-cv-05817-TEH
                                   5                  Plaintiffs,
                                   6            v.                                       ORDER GRANTING IN PART AND
                                                                                         DENYING IN PART PLAINTIFFS’
                                   7    COUNTY OF SONOMA, et al.,                        MOTIONS FOR PARTIAL
                                                                                         SUMMARY JUDGMENT;
                                   8                  Defendants.                        GRANTING IN PART AND
                                                                                         DENYING IN PART DEFENDANTS’
                                   9                                                     CROSS-MOTIONS FOR PARTIAL
                                                                                         SUMMARY JUDGMENT
                                  10

                                  11

                                  12          Now before the Court are Plaintiffs’ motions and Defendants’ cross-motions for
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                                  13   partial summary judgment. The Court heard oral argument on this matter on October 27,
                                  14   2014. After carefully reviewing the arguments of the parties in the papers submitted and at
                                  15   the hearing, the Court now DENIES Plaintiff Sandoval’s motion, GRANTS IN PART and
                                  16   DENIES IN PART Plaintiff Ruiz’s motion, GRANTS Defendant Freitas’s motion, and
                                  17   GRANTS IN PART and DENIES IN PART the Santa Rosa City Defendants’ motion, for
                                  18   the reasons set forth below.
                                  19

                                  20   BACKGROUND
                                  21          The background of this case is by now familiar to everyone involved. The
                                  22   following summary gives context to the issues presented by these cross-motions. The facts
                                  23   recited herein are not disputed by the parties.
                                  24          Plaintiffs Rafael Mateos-Sandoval (“Sandoval”) and Simeon Avendano Ruiz
                                  25   (“Ruiz”) challenge the thirty-day impoundment of their vehicles for driving without a
                                  26   license. Both Plaintiffs had previously been issued driver’s licenses in Mexico. Sandoval
                                  27   Dep., Ex. D to Keck Decl. at 13 (Docket No. 198); Ruiz Dep., Ex. A to Jackson Decl. at 19
                                  28   (Docket No. 195). On January 27, 2011, Sandoval’s truck was seized by the Sonoma
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                                   1   County Sheriff’s Department and impounded for thirty days under California Vehicle
                                   2   Code section 14602.6, which authorizes impoundment of the vehicle of a driver who has
                                   3   never been issued a driver’s license. Ex. D to Cook Decl. at 37 (Docket No. 185-2). On
                                   4   September 1, 2011, Ruiz’s vehicle was impounded for thirty days under the same
                                   5   provision. Ex. D to Cook Decl. at 32 (Docket No. 187).
                                   6           Sandoval initially brought his claims against Sonoma County, the Sonoma County
                                   7   Sheriff’s Department, and Sheriff Steve Freitas in his official and personal capacities. The
                                   8   County Defendants appealed a prior summary judgment order on grounds of sovereign
                                   9   immunity, Docket No. 70, resulting in the stay of Sandoval’s claims against them. April
                                  10   10, 2013 Order at 3-4 (Docket No. 92). Additionally, Sheriff Freitas was granted qualified
                                  11   immunity for Sandoval’s due process claims against him in his personal capacity. January
                                  12   31, 2014 Order at 11-12 (Docket No. 126). As a result, Sandoval’s only active claim is
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                                  13   against Sheriff Freitas in his personal capacity for Fourth Amendment violations.
                                  14           Ruiz brought claims against the City of Santa Rosa, the Santa Rosa Police
                                  15   Department, and Santa Rosa Chief of Police Tom Schwedhelm in his official and personal
                                  16   capacities. Ruiz has active Fourth Amendment and due process claims against all of these
                                  17   Defendants.
                                  18           Ruiz had a friend with a California driver’s license who could have taken
                                  19   possession of his vehicle at the time of its impoundment. Ruiz Dep. at 73-76. At the time
                                  20   of his impoundment, Ruiz had repeatedly pled guilty to misdemeanor charges of driving
                                  21   without a license under Vehicle Code section 12500, which prohibits California residents
                                  22   from driving without a license issued by the state of California, subject to certain
                                  23   exceptions not relevant here. Ruiz Dep. at 35; Minute Order in People v. Ruiz, No. SCR-
                                  24   538128 (Sonoma Cnty. Sup. Ct. 2008), Ex. C to Request for Judicial Notice (Docket No.
                                  25   196); Minute Order in People v. Ruiz, No. SCR-569380 (Sonoma Cnty. Sup. Ct. 2009) Ex.
                                  26   D to Request for Judicial Notice.1 Related to those earlier citations, Ruiz was also cited for
                                  27
                                       1
                                  28    For the purposes of these cross-motions, the Court takes judicial notice of the existence
                                       of these minute orders, as well as the state court order in Martinez v. City of Santa Rosa,
                                                                                      2
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                                   1   driving with a child without a seat belt, driving without current tags, and for not stopping
                                   2   at a stop sign, although the latter two citations were dismissed in court. Ruiz Dep. at 34;
                                   3   Minute Order in People v. Ruiz, No. SCR-538128 (2008) (citation for expired tags
                                   4   dismissed); Minute Order in People v. Ruiz, No. SCR-569380 (2009) (citation for failing to
                                   5   stop dismissed).
                                   6            Ruiz challenged the impoundment at issue in this case at the Santa Rosa Police
                                   7   Department on September 6, 2011, but his request for release was denied. Santa Rosa
                                   8   Police Department Record, Ex. D to Jackson Decl. at 1 (Docket No. 195). As a result of
                                   9   being without a car, Ruiz missed at least one week of work. Ruiz Dep. at 88. Ruiz
                                  10   obtained his car after the thirty-day impoundment period by paying a storage fee. Ex. D to
                                  11   Cook Decl. at 33 (Docket No. 187).
                                  12            On August 22, 2014, the parties stipulated to seek partial summary judgment on a
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                                  13   “key legal question,” the resolution of which they agreed “will significantly and materially
                                  14   affect the resolution of Fourth Amendment claims in the case, including putative class
                                  15   issues.” August 22, 2014 Stipulation and Order at 2 (Docket No. 178). Plaintiffs
                                  16   identified the question as follows:
                                  17                  Assuming that the initial seizure and towing of Plaintiffs’
                                                      vehicles was lawful under both state and federal law, can
                                  18                  Defendants justify, under the Fourth Amendment, the
                                                      warrantless seizures of Plaintiffs’ vehicles for the 30-day time
                                  19                  period provided in California Vehicle Code § 14602.6?
                                  20   Id.
                                  21            On September 1, 2014, Plaintiffs moved to certify their class, even though they had
                                  22   previously stipulated that resolution of the cross-motions for summary judgment will affect
                                  23   the resolution of putative class issues. Mot. for Class Certification (Docket No. 179). The
                                  24   Court vacated that motion, in order to decide these cross-motions for partial summary
                                  25   judgment first. September 22, 2014 Order at 3 (Docket No. 193).
                                  26   //
                                  27

                                  28   pursuant to the City Defendants’ unopposed request for judicial notice (Docket No. 196).
                                       Fed. R. Evid. 201(b)(2); Lee v. City of Los Angeles, 250 F.3d 668, 690 (9th Cir. 2001).
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                                   1   LEGAL STANDARDS
                                   2   A. Summary Judgment
                                   3          Summary judgment is appropriate if “there is no genuine dispute as to any material
                                   4   fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56. At the
                                   5   summary judgment stage, the court may not weigh the evidence and must view it in the
                                   6   light most favorable to the nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S.
                                   7   242, 255 (1986).
                                   8

                                   9   B. Qualified Immunity
                                  10          Qualified immunity “shield[s] an officer from personal liability when an officer
                                  11   reasonably believes that his or her conduct complies with the law.” Pearson v. Callahan,
                                  12   555 U.S. 223, 244 (2009). “[C]ourts may grant qualified immunity on the ground that a
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                                  13   purported right was not ‘clearly established’ by prior case law . . . .” Reichle v. Howards,
                                  14   132 S. Ct. 2088, 2093 (2012). “A Government official's conduct violates clearly
                                  15   established law when, at the time of the challenged conduct . . . every reasonable official
                                  16   would have understood that what he is doing violates that right.” Ashcroft v. al-Kidd, 131
                                  17   S. Ct. 2074, 2083 (2011) (internal quotation and citation omitted). Qualified immunity
                                  18   does “not require a case directly on point, but existing precedent must have placed the
                                  19   statutory or constitutional question beyond debate.” Id.
                                  20

                                  21   C. The Fourth Amendment
                                  22          The Fourth Amendment prohibits unreasonable searches and seizures. U.S. Const.
                                  23   amend. IV. “A seizure conducted without a warrant is per se unreasonable under the
                                  24   Fourth Amendment—subject only to a few specifically established and well delineated
                                  25   exceptions.” United States v. Hawkins, 249 F.3d 867, 872 (9th Cir. 2001) (internal
                                  26   quotations and citation omitted). Moreover, “a seizure lawful at its inception can
                                  27   nevertheless violate the Fourth Amendment because its manner of execution unreasonably
                                  28   infringes possessory interests,” for example by retaining property for an unreasonably long
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                                   1   time. United States v. Jacobsen, 466 U.S. 109, 124 & n.25 (1984) (citing United States v.
                                   2   Place, 462 U.S. 696, 709-710 (1983)). In such cases, the individual’s interest in
                                   3   possession must be balanced against the government’s interest in retaining the property.
                                   4   United States v. Sullivan, 753 U.S. 845, 855 (9th Cir. 2014) (citing Place, 462 U.S. at 703).
                                   5

                                   6   DISCUSSION
                                   7          These cross-motions for summary judgment center on a fairly straightforward
                                   8   question: assuming that Plaintiffs’ vehicles were lawfully seized in the first place, whether
                                   9   their thirty-day impoundment can be justified under the Fourth Amendment. However, the
                                  10   parties also dispute whether the impoundments at issue should be analyzed under the
                                  11   Fourth Amendment or due process law. Moreover, the individually named Defendants
                                  12   assert defenses of qualified immunity. Deciding whether the Fourth Amendment applies
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                                  13   to such ongoing seizures also determines the applicable law for both qualified immunity
                                  14   and the merits; it is therefore a threshold issue that must be decided first. The Court
                                  15   concludes that the Fourth Amendment applies to Plaintiffs’ claims in these motions, that
                                  16   the individual Defendants are entitled to qualified immunity, and that the City Defendants’
                                  17   thirty-day impoundment of Plaintiff Ruiz’s car violated the Fourth Amendment, as
                                  18   discussed below.
                                  19

                                  20   I. The Fourth Amendment Applies to Plaintiffs’ Claims and Governs This Analysis
                                  21          The Fourth Amendment protects against unreasonable searches and seizures. U.S.
                                  22   Const. amend. IV. A warrantless seizure that was valid at its inception may become
                                  23   unreasonable by virtue of a delay in time. Place, 462 U.S. at 709-710. The Ninth Circuit
                                  24   has repeatedly applied the Fourth Amendment’s reasonableness analysis to the question of
                                  25   whether the government’s prolonged, warrantless retention of seized property is
                                  26   constitutional. E.g., Sullivan, 753 F.3d at 855-56 (consensual twenty-one day seizure of
                                  27   laptop held reasonable); United States v. Dass, 849 F.2d 414, 415 (9th Cir. 1988) (seven to
                                  28   twenty-three day warrantless seizures of mailed packages held unreasonable). The Ninth
                                                                                     5
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                                   1   Circuit has also analyzed property seizures under the Due Process clause of the Fourteenth
                                   2   Amendment, sometimes in conjunction with a Fourth Amendment analysis. E.g., Lavan v.
                                   3   City of Los Angeles, 693 F.3d 1022, 1029-32 (9th Cir. 2012) (holding that both the Fourth
                                   4   and Fourteenth Amendments applied to protect homeless plaintiffs’ possessory interest in
                                   5   their unattended personal belongings).
                                   6          Defendants have not identified a single Ninth Circuit case holding that only the Due
                                   7   Process clause applies if the Fourth Amendment was satisfied at the time of the initial
                                   8   seizure. The closest Ninth Circuit case they cite for that proposition is Stypmann v. City
                                   9   and County of San Francisco, 557 F.2d 1338 (9th Cir. 1977). In that case, the plaintiffs
                                  10   successfully challenged the impoundments of their vehicles without a hearing as violating
                                  11   due process. Id. at 1342. However, the Fourth Amendment was not even discussed. The
                                  12   mere fact that plaintiffs in an earlier case brought a due process claim under slightly
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                                  13   similar facts does not render the Fourth Amendment irrelevant here.
                                  14          To the contrary, in a Supreme Court case where the defendant Sheriff argued that
                                  15   the seizure of a mobile home must be analyzed under the Fourteenth Amendment instead
                                  16   of the Fourth Amendment, the Court responded, “we see no basis for doling out
                                  17   constitutional protections in such fashion. Certain wrongs affect more than a single right
                                  18   and, accordingly, can implicate more than one of the Constitution's commands.” Soldal v.
                                  19   Cook County, Illinois, 506 U.S. 56, 70 (1992). Accordingly, the Court reversed the
                                  20   Seventh Circuit’s decision that the plaintiffs could only challenge the seizure under the
                                  21   Fourteenth Amendment. Id.
                                  22          Nevertheless, other circuits have directly considered this question and have
                                  23   concluded that a seizure of property that was valid at its inception cannot amount to a
                                  24   Fourth Amendment violation merely as a result of the delay. In Lee v. City of Chicago, the
                                  25   Seventh Circuit discussed at length the question of whether the ongoing impoundment of a
                                  26   vehicle after a valid initial seizure should be analyzed under the Fourth Amendment or the
                                  27   Due Process clause. 330 F.3d 456, 460-65 (7th Cir. 2003). That court concluded that a
                                  28   “seizure” was a particular act of depriving an individual of a property interest, and that
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                                   1   once the initial seizure was completed, the ongoing retention of property only implicated
                                   2   due process concerns. Id. at 466; see also Fox v. Van Oosterum, 176 F.3d 342, 250 (6th
                                   3   Cir. 1999). The court distinguished Place as concerning the narrow question of when a
                                   4   Terry stop matures into a “full-blown seizure,” not when a reasonable seizure becomes
                                   5   unreasonable. Lee, 330 F.3d at 464. Soldal was distinguished as only concerning an
                                   6   individual’s interest in preventing an initial seizure, not an ongoing one. Id. at 466.
                                   7          Here, in the Ninth Circuit, the Fourth Amendment protects Plaintiffs’ interest in
                                   8   possessing property that has been validly seized. Plaintiffs framed their motion for partial
                                   9   summary judgment as a Fourth Amendment question. In the parties’ stipulation, Plaintiffs
                                  10   identified the question for summary judgment as follows:
                                  11                 Assuming that the initial seizure and towing of Plaintiffs’
                                                     vehicles was lawful under both state and federal law, can
                                  12                 Defendants justify, under the Fourth Amendment, the
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                                                     warrantless seizures of Plaintiffs’ vehicles for the 30-day time
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                                  13                 period provided in California Vehicle Code § 14602.6?
                                  14   Stipulation and Order at 2. The Ninth Circuit has repeatedly employed a Fourth
                                  15   Amendment analysis for delays in returning seized property, so Plaintiffs are entitled to
                                  16   pursue this theory now.
                                  17          Defendants’ reliance on Lee is not convincing. Lee is an out-of-circuit case that
                                  18   does not control this Court’s analysis. If this case were in the Seventh Circuit, it appears
                                  19   that Defendants would have a strong argument that Plaintiffs cannot proceed under a
                                  20   Fourth Amendment theory. However, as already discussed, the Ninth Circuit recognizes
                                  21   this theory of Fourth Amendment protection, in conjunction with the Fourteenth
                                  22   Amendment.
                                  23          Moreover, the Court is not persuaded by Lee’s interpretation of Place. The Lee
                                  24   court reasoned that “Place and its progeny deal only with the transformation of a
                                  25   momentary, investigative detention into a seizure.” 330 F.3d at 464. However, The
                                  26   Supreme Court in Place found that “There is no doubt that the agents made a ‘seizure’ of
                                  27   Place's luggage for purposes of the Fourth Amendment when, following his refusal to
                                  28   consent to a search, the agent told Place that he was going to take the luggage to a federal
                                                                                     7
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                                   1   judge . . . .” Place, 462 U.S. at 707 (emphasis added). Although the Fourth Amendment
                                   2   seizure began at that moment, the Court held that “The length of the detention of
                                   3   respondent's luggage alone precludes the conclusion that the seizure was reasonable in the
                                   4   absence of probable cause.” Place, 462 U.S. at 707, 709. The existence of a seizure did
                                   5   not depend on its length; rather, there clearly was a seizure, and its length was what made
                                   6   it unreasonable. Contrary to the Seventh Circuit’s reading, Place stands squarely for the
                                   7   claim that a seizure reasonable at its inception can become unconstitutionally unreasonable
                                   8   due to its duration, as the Supreme Court itself has recognized. Jacobsen, 466 U.S. at 124
                                   9   & n.25.
                                  10          Finally, the Court is not persuaded by Defendants’ argument that seizures in
                                  11   criminal cases such as Dass and Sullivan are categorically different than the
                                  12   “administrative” or “civil” seizures at issue here. None of the Ninth Circuit or Supreme
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                                  13   Court cases cited draw such a distinction. The Fourth Amendment protects an individual’s
                                  14   interest in possessing his property, and that interest is implicated by a delay in returning
                                  15   the property, whether the property was seized for a criminal investigation, to protect the
                                  16   public, or to punish the individual.
                                  17          Because the Ninth Circuit clearly recognizes the Fourth Amendment’s protection of
                                  18   an individual’s interest in possessing his property even after it was lawfully seized,
                                  19   Plaintiffs can bring their claim under the Fourth Amendment here.
                                  20

                                  21   II. Sheriff Freitas and Police Chief Schwedhelm are Entitled to Qualified Immunity
                                  22          In a section 1983 claim, qualified immunity “protects government officials ‘from
                                  23   liability for civil damages insofar as their conduct does not violate clearly established
                                  24   statutory or constitutional rights of which a reasonable person would have known.’”
                                  25   Pearson v. Callahan, 555 U.S. 223, 231 (2009) (quoting Harlow v. Fitzgerald, 457 U.S.
                                  26   800, 818 (1982)). A Court may grant “qualified immunity on the ground that a purported
                                  27   right was not ‘clearly established’ by prior case law . . . .” Reichle v. Howards, 132 S. Ct.
                                  28   2088, 2093 (2012) (citing Pearson, 555 U.S. at 227).
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                                   1          A right is “clearly established” if it is “sufficiently clear that every reasonable
                                   2   official would have understood that what he is doing violates that right. In other words,
                                   3   existing precedent must have placed the statutory or constitutional question beyond
                                   4   debate.” Reichle, 132 S. Ct. at 2093 (citation and quotation marks omitted). While there
                                   5   need not be a “case directly on point,” Ashcroft v. al-Kidd, 131 S. Ct. 2074, 2083 (2011),
                                   6   the plaintiff nonetheless “bears the burden of proving that the rights she claims were
                                   7   ‘clearly established’ at the time of the alleged violation,” Moran v. Washington, 147 F.3d
                                   8   839, 844 (9th Cir. 1998).
                                   9          Here, there was no clear consensus placing the unconstitutionality of the thirty-day
                                  10   impoundments “beyond debate” when they occurred in 2011. Plaintiffs rely primarily on
                                  11   Miranda v. City of Cornelius, 429 F.3d 858 (9th Cir. 2005), which held that a warrantless
                                  12   vehicle impoundment was not justified by the community caretaking exception, and
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                                  13   therefore violated the Fourth Amendment, when the vehicle was safely parked at home and
                                  14   there was no public safety rationale for removing the vehicle from the streets. Id. at 865-
                                  15   66. Plaintiffs also claim that Soldal and Place establish that a seizure can be unreasonable
                                  16   as the result of a delay before obtaining a warrant. Putting these together, Plaintiffs argue
                                  17   that the thirty-day warrantless impoundment of their vehicles violated clearly established
                                  18   law.
                                  19          Plaintiffs’ argument is unsuccessful because none of these cases are sufficiently
                                  20   similar to the thirty-day impoundments at issue here to overcome qualified immunity. As
                                  21   is discussed more below, Miranda was a different case, because it concerned an initial
                                  22   seizure under the community caretaking doctrine, whereas the parties here have stipulated
                                  23   for purposes of these cross-motions that the initial seizures were justified. While
                                  24   Miranda’s reasoning is instructive in deciding the merits in this case, it does not by itself
                                  25   establish that the ongoing impoundment of a vehicle violates the Fourth Amendment when
                                  26   the initial seizure was valid.
                                  27          Similarly, the Supreme Court cases are not close enough on point to clearly
                                  28   establish Plaintiffs’ claimed right. None of those cases concerned a vehicle impoundment
                                                                                      9
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                                   1   for which the initial seizure was presumed valid. Soldal concerned the removal of and
                                   2   related damage to a mobile home; the plaintiffs in that case did not admit that the initial
                                   3   seizure was valid, as Plaintiffs here do for purposes of this motion. 506 U.S. at 58-59, 61.
                                   4   Place concerned the ninety-minute seizure of luggage without probable cause, and the
                                   5   Court’s reasoning depended on the possessory interests of passengers moving through
                                   6   transportation terminals and the problems with stopping someone on less than probable
                                   7   cause. 462 U.S. at 709-10. Although both of these cases support Plaintiffs’ claims on the
                                   8   merits, they arose in such different factual circumstances that they do not clearly establish
                                   9   that, even where the initial seizure of a vehicle is valid, the thirty-day warrantless
                                  10   impoundment of that vehicle is a Fourth Amendment violation.
                                  11           Considering the qualified immunity of Police Chief Schwedhelm,2 the Ninth Circuit
                                  12   upheld thirty-day impoundments under the same California statute in early 2011 in the
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                                  13   unpublished case of Salazar v. City of Maywood, 414 F. App’x 73 (9th Cir. Feb. 8, 2011).
                                  14   Although Salazar primarily addressed a due process challenge, it undermines Plaintiffs’
                                  15   claims that the unconstitutionality of these seizures was beyond debate in 2011.
                                  16           Especially relevant to the authority for the impoundment of Plaintiff Ruiz’s vehicle
                                  17   was a tentative ruling issued by the Sonoma County Superior Court two days before his
                                  18   vehicle’s seizure, in which the court upheld a seizure and impoundment under facts very
                                  19   similar to Ruiz’s situation. Martinez v. City of Santa Rosa, No. SCV-249845 (Sonoma
                                  20   Cnty. Sup. Ct. Aug. 30, 2011). Although that court declined to consider whether the
                                  21   Mexico-licensed driver in that case was covered by Vehicle Code section 14602.6, it found
                                  22   that he was nonetheless a California resident driving without a license who had previously
                                  23   been convicted for misdemeanor unlicensed driving, so his vehicle’s impoundment was
                                  24   mandatory under the civil forfeiture provision of section 14607.6. The court held that a
                                  25   possible legal error in citing 14602.6 (thirty-day impoundment for never-licensed driving)
                                  26
                                  27   2
                                        The Ninth Circuit decided Salazar in February 2011, shortly after the seizure of
                                  28   Sandoval’s vehicle in January, so its opinion is not directly relevant to the qualified
                                       immunity analysis of Defendant Freitas.
                                                                                    10
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                                   1   instead of 14607.6 (impoundment for repeat violations) was not sufficient to invalidate the
                                   2   impoundment.
                                   3           The result of these cases is that Plaintiffs have not shown that their vehicles’ thirty-
                                   4   day impoundment was clearly unconstitutional. These motions ask the Court to assume
                                   5   that the initial seizures were valid, and only decide whether the thirty-day impoundments
                                   6   can be justified. Miranda provides only scant guidance on that specific issue, and the
                                   7   Supreme Court cases cited by Plaintiffs concerned different factual settings with different
                                   8   balances of government and individual interests. Moreover, the City Defendants could
                                   9   point to Ninth Circuit and state court authority upholding similar impoundment periods on
                                  10   similar facts. The law was not sufficiently clear to eliminate qualified immunity for
                                  11   Defendants Sheriff Freitas and Police Chief Schwedhelm. Therefore, these Defendants, in
                                  12   their personal capacities, do not need to defend against the claim that these impoundments
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                                  13   were unconstitutional as a result of an unreasonable delay.
                                  14           Applying qualified immunity requires granting Defendant Freitas’s motion and
                                  15   denying Sandoval’s motion. However, Ruiz’s motion can still proceed against the City
                                  16   Defendants, except for Defendant Schwedhelm in his personal capacity.
                                  17

                                  18   III. The Warrantless Impoundment of Plaintiff Ruiz’s Vehicle for Thirty Days
                                  19   Violated the Fourth Amendment
                                  20           As noted above, the Fourth Amendment prohibits unreasonable seizures. “A
                                  21   seizure conducted without a warrant is per se unreasonable under the Fourth
                                  22   Amendment—subject only to a few specifically established and well delineated
                                  23   exceptions.” United States v. Hawkins, 249 F.3d 867, 872 (9th Cir. 2001) (internal
                                  24   quotations and citation omitted). The question presented by this motion asks the Court to
                                  25   assume that the initial warrantless vehicle seizures were valid. The City Defendants3 raise
                                  26
                                  27   3
                                         Because Defendant Freitas is entitled to qualified immunity, as discussed in Part II above,
                                  28   the only remaining active claim for this motion is Plaintiff Ruiz’s Fourth Amendment
                                       claim against the City Defendants.
                                                                                    11
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                                   1   three arguments for why the thirty-day seizure of Plaintiff Ruiz’s vehicle was reasonable,
                                   2   in spite of the lack of a warrant: first, it was authorized by state law; second, the
                                   3   community caretaking exception applied; and third, it was plainly reasonable to
                                   4   temporarily seize the vehicle of a dangerous driver such as Plaintiff Ruiz. None of these
                                   5   arguments are convincing.
                                   6

                                   7   A. State Law Authorization Alone Does Not Satisfy the Fourth Amendment
                                   8          Defendants’ first argument is that the thirty-day impoundment of Ruiz’s vehicle
                                   9   was reasonable because it was authorized by California Vehicle Code section 14602.6.
                                  10   That statute authorizes the thirty-day impoundment of a vehicle when, among other things,
                                  11   a driver is cited for “driving a vehicle without ever having been issued a driver’s license.”
                                  12   Cal. Veh. Code § 14602.6. In support of this provision, the Legislature found that
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                                  13   unlicensed drivers “are involved in a disproportionate number of traffic incidents” and that
                                  14   “seizing the vehicles used by unlicensed drivers serves a significant governmental and
                                  15   public interest, namely the protection of the health, safety, and welfare of Californians
                                  16   from the harm of unlicensed drivers.” Cal. Veh. Code § 14607.4. City Defendants argue
                                  17   that Ruiz was covered by the statute, and that this was sufficient to justify the thirty-day
                                  18   impoundment under the Fourth Amendment. City Defendants’ Opp’n at 14 (Docket No.
                                  19   194). Plaintiffs argue that Ruiz was not covered by the statute, because he had previously
                                  20   been issued a driver’s license in Mexico, and that in any event a state law cannot
                                  21   circumvent the Constitution. Mot. at 2 n.3 & 5; Reply at 11.
                                  22          Defendants’ argument is not supported by case law. The mere fact that a state has
                                  23   authorized a search or seizure does not render it reasonable under the Fourth Amendment.
                                  24   Sibron v. New York, 392 U.S. 40, 61 (1968) (a state may not “authorize police conduct
                                  25   which trenches upon Fourth Amendment rights”); Miranda, 429 F.3d at 864 (“We begin
                                  26   with the premise, apparently not recognized by the Defendants, that the decision to
                                  27   impound pursuant to the authority of a city ordinance and state statute does not, in and of
                                  28   itself, determine the reasonableness of the seizure under the Fourth Amendment . . . .”).
                                                                                      12
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                                   1   Indeed, in Miranda, the question was also whether the seizure of a vehicle could be
                                   2   justified by reference to a state statute. Although the issue in that case was the initial
                                   3   seizure, rather than the prolonged detention of the car, the same reasoning applies, because
                                   4   both cases concern a possessory interest protected by the Fourth Amendment, as discussed
                                   5   in Part I, above.
                                   6          It also must be noted that Ruiz had been issued a Mexican driver’s license prior to
                                   7   the impoundment of his vehicle, so he was not driving without having ever been issued a
                                   8   driver’s license. He was therefore outside of the scope of section 14602.6. Yet this was
                                   9   the section cited by the City for his vehicle’s impoundment. Ex. D to Cook Decl. (Docket
                                  10   No. 187). As discussed in Part III-C, below, his vehicle’s impoundment may have been
                                  11   authorized by other statutes if the City had taken a different type of enforcement action,
                                  12   but those provisions require involving the courts, unlike section 14602.6.
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                                  13          In sum, statutory authorization alone does not satisfy the Fourth Amendment’s
                                  14   requirement of reasonableness, nor did Ruiz’s impoundment even fall within the scope of
                                  15   the statute cited by Defendants.
                                  16

                                  17   B. The Community Caretaking Exception Does Not Apply
                                  18          The City Defendants’ second argument is that the community caretaking exception
                                  19   applies in this case, rendering the thirty-day seizures reasonable. The community
                                  20   caretaking exception allows the police to remove a vehicle from the streets, without a
                                  21   warrant, when the vehicle poses an obstacle to the flow of traffic or otherwise jeopardizes
                                  22   public safety. Miranda, 429 F.3d at 864. Courts are unwilling to expand the community
                                  23   caretaking exception beyond those narrow circumstances, and the government has the
                                  24   burden of proving that the exception actually applied in the case at hand. See United
                                  25   States v. Cervantes, 703 F.3d 1135, 1141-42 (9th Cir. 2012); United States v. Caseres, 533
                                  26   F.3d 1064, 1074-75 (9th Cir. 2008). The reasonableness of a seizure under the community
                                  27   caretaking exception depends on the facts of the individual case. Miranda, 429 F.3d at
                                  28   864.
                                                                                      13
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                                   1          Once the vehicle has been removed from the street, or the threat to public safety has
                                   2   been removed, the community caretaking exception no longer justifies the warrantless
                                   3   seizure of property, so long as a licensed driver can take possession of the car. See id. at
                                   4   863-64; see also Salazar v. Schwarzenegger, No. 07-CV-01854-SJO, at *5 (C.D. Cal. Sept.
                                   5   9, 2008) (“[T]he community caretaking doctrine only justifies a 30-day impoundment
                                   6   period when no licensed driver is available to retrieve and legally move the car.”).
                                   7          The community caretaking exception cannot be used to deter unlawful driving.
                                   8   Miranda, 429 F.3d at 866. In Miranda, the Ninth Circuit held that the community
                                   9   caretaking exception only applied to the narrow circumstances of removing a car from the
                                  10   streets, and would not be expanded to justify the seizure of a family’s vehicle in order to
                                  11   prevent an unlicensed driver from driving again. Id. The court rejected the argument that
                                  12   a vehicle could be impounded to deter future unlawful driving:
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                                  13                 Such a rationale would expand the authority of the police to
                                                     impound regardless of the violation, instead of limiting
                                  14                 officers’ discretion to ensure that they act consistently with
                                                     their role of “caretaker of the streets.” . . . [T]he deterrence
                                  15                 rationale is incompatible with the principles of the community
                                                     caretaking doctrine. Unlike in civil forfeitures, where the
                                  16                 seizure of property penalizes someone who has been convicted
                                                     of a crime, the purpose of the community caretaking function is
                                  17                 to remove vehicles that are presently impeding traffic or
                                                     creating a hazard. The need to deter a driver's unlawful
                                  18                 conduct is by itself insufficient to justify a tow under the
                                                     “caretaker” rationale.
                                  19

                                  20   Id. at 866.
                                  21          Here, even assuming that Ruiz’s vehicle was lawfully impounded pursuant to the
                                  22   community caretaking exception, that exception cannot justify the ongoing seizure of the
                                  23   vehicle after it has been removed, much less for an arbitrary period of thirty days.
                                  24          The most obvious distinction between this case and Miranda is that Miranda
                                  25   primarily concerned the initial decision to impound, whereas this motion assumes that the
                                  26   initial seizure was valid and only considers the prolonged, thirty-day period of
                                  27   impoundment. Still, while Miranda does not control the outcome here, its reasoning is
                                  28   powerful and instructive: the deterrence rationale cannot support the application of the
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                                   1   community caretaking doctrine, because doing so would expand what is supposed to be a
                                   2   narrow exception to the warrant requirement.
                                   3          Defendants argue that, even after the initial seizure of the vehicle, the community
                                   4   caretaking exception should apply because Ruiz was an unsafe driver, and keeping him off
                                   5   the road for thirty days will make the public safer. Defendants point to the California
                                   6   Legislature’s determination that unlicensed drivers are more likely to be unsafe drivers.
                                   7   This argument is unpersuasive, for several reasons.
                                   8          First, Defendants cannot rely on the generalized legislative findings of section
                                   9   14607.4 to show that Ruiz was unsafe. As already noted, Ruiz previously received a
                                  10   license to drive in Mexico and so was not driving “without ever having been issued a
                                  11   driver’s license” under section 14602.6. For this reason, the findings of section 14607.4
                                  12   carry little weight as to a driver such as Ruiz. Furthermore, as Miranda made clear, the
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                                  13   application of the community caretaking doctrine must turn on the facts of the individual
                                  14   case, not the generalized findings of a legislature.
                                  15          Second, Defendants offer virtually no evidence that Ruiz himself was unsafe. The
                                  16   mere fact that Ruiz had prior convictions for driving without a license is not relevant to
                                  17   whether or not he was a safe driver. And while Ruiz had previously been cited for driving
                                  18   with a child outside of a seatbelt and for failing to stop at a stop sign, the circumstances of
                                  19   those citations do not suggest that Ruiz was unsafe. For the former citation, Ruiz’s young
                                  20   son was taken out of his car seat by Ruiz’s wife because he was crying – hardly suggestive
                                  21   of Ruiz’s own unsafe driving. Ruiz Dep. at 33. Regarding the latter, while such a citation
                                  22   is probative, the Court does not believe that a single citation for failing to come to a
                                  23   complete stop at a stop sign is persuasive evidence that a driver is unsafe. Nor do the City
                                  24   Defendants point to those citations for that purpose; instead, they emphasize that Ruiz was
                                  25   repeatedly cited for driving without a license.
                                  26          Third, Defendants’ argument is essentially that Ruiz should be deterred from
                                  27   driving without a license, but the Miranda court held that deterrence is not an appropriate
                                  28   reason to apply the community caretaking exception. Fourth, Defendants’ argument
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                                   1   makes little sense when they admit that, after the thirty-day period was over, Ruiz was able
                                   2   to obtain his car by merely paying a storage fee; he did not need to take any steps to prove
                                   3   that he was a licensed driver, or that he was no longer “unsafe.” And finally, Ruiz had a
                                   4   friend with a valid California driver’s license who could have legally driven the car away
                                   5   even before the thirty-day period was over. Ruiz Dep. at 73-76. For all of these reasons,
                                   6   the community caretaking exception does not apply here.
                                   7

                                   8   C. The Thirty-Day Impoundment of Plaintiff Ruiz’s Vehicle was Unreasonable
                                   9          The City Defendants argue that, even if the community caretaking exception does
                                  10   not apply, the seizure of Plaintiff Ruiz’s vehicle passes the ultimate test of
                                  11   “reasonableness” under the Fourth Amendment. “‘A seizure conducted without a warrant
                                  12   is per se unreasonable under the Fourth Amendment—subject only to a few specifically
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                                  13   established and well delineated exceptions. The burden is on the Government to persuade
                                  14   the district court that a seizure comes under one of a few specifically established
                                  15   exceptions to the warrant requirement.’” Miranda, 429 F.3d at 862 (quoting United States
                                  16   v. Hawkins, 249 F.3d 867, 872 (9th Cir. 2001)).
                                  17          To determine whether a prolonged warrantless seizure was reasonable, a reviewing
                                  18   court will “balance ‘the nature and quality of the intrusion on the individual's Fourth
                                  19   Amendment interests against the importance of the governmental interests alleged to
                                  20   justify the intrusion.’” United States v. Sullivan, 753 F.3d 845, 855 (9th Cir. 2014)
                                  21   (quoting United States v. Place, 462 U.S. 696, 703 (1983)). “Such determinations are
                                  22   made on a case-by-case basis.” Sullivan, 753 F.3d at 855.
                                  23          Two informative cases addressing whether or not a prolonged warrantless seizure of
                                  24   property was reasonable are United States v. Dass, 849 F.2d 414 (9th Cir. 1988), and
                                  25   Sullivan, 753 F.3d 845. In Dass, a case about distributing marijuana out of Hawaii through
                                  26   the mail, the court found that mailed packages were unreasonably seized, and therefore
                                  27   could not be used as evidence in a criminal case, where the warrants for those packages
                                  28   were obtained seven to twenty-three days after a dog sniff had identified them as carrying
                                                                                     16
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                                   1   marijuana. The court was “reluctant to extend the Van Leeuwen outer boundary of 29
                                   2   hours [to obtain a warrant] to a period not measured in hours, but rather in days and
                                   3   weeks.” 849 F.2d at 415 (citing United States v. Van Leeuwen, 397 U.S. 249 (1970)).
                                   4   Although the court did not explicitly comment on the public’s interest in possessing its
                                   5   packages, “Dass implicitly determined that such a lengthy retention of mailed packages
                                   6   constituted a substantial intrusion into the possessory interests of the individuals who
                                   7   placed the packages in the mail.” Sullivan, 753 F.3d at 845.
                                   8          In Sullivan, a case about a conviction for child pornography, the court held that the
                                   9   twenty-one day delay between seizing a laptop and obtaining a warrant was reasonable
                                  10   under the facts of that case. 753 F.3d at 856. The court considered the fact that Sullivan
                                  11   was already a parolee subject to a consent condition for seizure and that he was
                                  12   incarcerated during the delay, both of which reduced his possessory interest in the laptop.
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                                  13   Id. The court also considered the fact that Sullivan consented to the seizure seventeen days
                                  14   in. Id. On the other side of the scale, the government had a significant interest in
                                  15   supervising parolees and in seizing a laptop that contained evidence, as well as in
                                  16   transferring the laptop from the parole officers to the Berkeley police to perform the
                                  17   search. Id. Dass was distinguished, because it concerned the possessory interests of the
                                  18   general public, not a parolee under a consent-to-seizure condition. Id. at 857.
                                  19          An individual has a significant interest in possessing the vehicle he owns. “The
                                  20   private interest in the uninterrupted use of an automobile is substantial. A person’s ability
                                  21   to make a living and his access to both the necessities and amenities of life may depend
                                  22   upon the availability of an automobile when needed.” Stypmann v. City and County of San
                                  23   Francisco, 557 F.2d 1342-43 (9th Cir. 1977). Although Stypmann concerned a due
                                  24   process challenge, as discussed above, its reasoning regarding an individual’s interest in
                                  25   possessing his automobile applies equally in the Fourth Amendment context.
                                  26          Here, the thirty-day impoundment of Ruiz’s vehicle was unreasonable. Ruiz’s
                                  27   possessory interest was infringed by not being able to use his car for thirty days. For many
                                  28   people, the use of a car is essential for such necessary activities as getting to work and
                                                                                     17
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                                   1   purchasing food; the loss of a vehicle for thirty days can cause a significant disruption in a
                                   2   person’s life. Indeed, Ruiz missed a week of work as a result of being without a vehicle.
                                   3   Ruiz Dep. at 88. Also, unlike the plaintiff in Sullivan, who consented to the government’s
                                   4   seizure of his laptop, here Ruiz challenged his vehicle’s impoundment five days after its
                                   5   initial seizure, manifesting a denial of consent. Santa Rosa Police Department Record, Ex.
                                   6   D to Jackson Decl. at 1.
                                   7          However, other considerations weaken Ruiz’s possessory interest. As noted above,
                                   8   the individual in Sullivan was under a consent-to-seizure condition of parole. Here, Ruiz
                                   9   had repeatedly been convicted of driving without a California license. There is good
                                  10   reason to think that he was not legally able to drive in California at the time of his
                                  11   vehicle’s impoundment, since he was likely a California resident without a California
                                  12   license. See Ruiz Dep. at 14-15. Accordingly, the Court concludes that Ruiz had a
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                                  13   somewhat reduced interest in the possession of his vehicle at that time, at least until he
                                  14   obtained a California license.
                                  15          Nonetheless, Ruiz’s interest in possession outweighs the government’s interest in
                                  16   the warrantless impoundment of his vehicle for thirty days. The City’s primary stated
                                  17   reason for withholding the car for thirty days was to protect the public from an unsafe
                                  18   driver. As noted above, however, the City has provided only limited evidence that Ruiz
                                  19   was an “unsafe” driver, as opposed to merely a driver unlicensed by the State of
                                  20   California. The City’s concern about public safety is belied by the fact that, after thirty
                                  21   days, it was willing to release the vehicle to Ruiz without him taking any steps to prove
                                  22   that he was safe, or had been licensed by the state.
                                  23          It is also important to note that the City had alternative means available under state
                                  24   law to protect the public, if it truly believed that Ruiz was an unsafe driver. Specifically,
                                  25   the City could initiate forfeiture proceedings under California Vehicle Code section
                                  26   14607.6. Or, the City could pursue a criminal prosecution under sections 12500 and
                                  27   40000.11. The City could have used these methods of enforcement, but it did not. While
                                  28   the City argues that its greater power to initiate these proceedings implies the lesser power
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                                   1   of seizing the vehicle for thirty days, that argument misses the crucial distinction that the
                                   2   forfeiture and criminal processes are conducted in the courts. See Cal. Veh. Code
                                   3   § 14607.6 (e)(1)-(5) (owner of vehicle subject to forfeiture may challenge forfeiture in
                                   4   court, where “[t]he burden of proof in the civil case shall be on the prosecuting agency”).
                                   5   Here, by contrast, the thirty day impoundment was warrantless, and therefore without
                                   6   judicial review. The mere fact that other sources of authority could have applied does not
                                   7   make reasonable the process that actually was applied, especially when the government
                                   8   has the burden of justifying a warrantless seizure.
                                   9          It must be acknowledged that Ruiz’s seizure was not completely without review.
                                  10   Ruiz challenged his vehicle’s impoundment at a tow hearing on September 6, 2011, five
                                  11   days after its initial seizure. Although no Defendant argues that this hearing satisfies the
                                  12   warrant requirement, they do argue that this process is sufficient to render the ongoing
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                                  13   seizure reasonable. However, the availability of a tow hearing here is not sufficient to
                                  14   render the seizure reasonable, where the Defendants’ stated reason of protecting public
                                  15   safety does not stand up to scrutiny.
                                  16          Because the thirty-day impoundment of Ruiz’s vehicle was without a warrant, and
                                  17   neither the California statute, nor the community caretaking exception, nor the
                                  18   reasonableness of the seizure can justify it, the impoundment violated the Fourth
                                  19   Amendment.
                                  20

                                  21   IV. Plaintiffs’ Additional Questions are Not Considered Here
                                  22          As already noted, the parties stipulated to the resolution of a particular Fourth
                                  23   Amendment question. However, Plaintiffs exceeded the scope of the stipulation by asking
                                  24   the Court to decide issues besides that question, such as whether the City Defendants
                                  25   violated the California constitution, whether the seizures were inherently coercive under
                                  26   California Civil Code section 52.1 (b), and whether Plaintiffs are entitled to recover
                                  27   damages for any of these violations. Ruiz Mot. at 1-2 (Docket No. 186-1). Defendants
                                  28   rightly point out that these additional issues are outside of the stipulated Fourth
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                                   1   Amendment question. As a result, these portions of Plaintiff Ruiz’s motion are DENIED
                                   2   without prejudice.
                                   3

                                   4   V. The Schedule for Plaintiffs’ Motion for Class Certification
                                   5          At the October 27, 2014 hearing and case management conference, the parties
                                   6   presented differing views regarding the schedule and procedural posture of Plaintiffs’
                                   7   possibly forthcoming motion for class certification. However, the parties agreed that they
                                   8   should meet and confer within five days of the filing of this Order to discuss its effect on
                                   9   settlement negotiations and such a motion for class certification.
                                  10          The Court has considered the need to incorporate the holding and reasoning of this
                                  11   Order in the motion for class certification, as well as the potential prejudice to Defendants
                                  12   in any further delay. The Court has also considered Defendants’ argument that Plaintiffs
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                                  13   should only be entitled to file a Reply to their previously filed motion for class
                                  14   certification, rather than a new motion. However, the Court concludes that, in order to
                                  15   incorporate the reasoning of this Order and adequately brief the merits of class
                                  16   certification, more than a Reply is required. The parties shall meet and confer as
                                  17   suggested, no later than five days after the filing of this Order. If Plaintiffs decide to
                                  18   pursue a class action after meeting and conferring with Defendants, Plaintiffs shall file a
                                  19   new motion for class certification no later than December 8, 2014, to be noticed and
                                  20   briefed in accordance with Civil Local Rules 7-2 and 7-3.
                                  21

                                  22   CONCLUSION
                                  23          Plaintiffs bring this motion under the Fourth Amendment, and Defendants have
                                  24   failed to show that the Due Process clause should be applied instead. However,
                                  25   Defendants Freitas and Schwedhelm are entitled to qualified immunity for this claim,
                                  26   because Plaintiffs have failed to show that the thirty-day impoundments violated clearly
                                  27   established law. Therefore, Plaintiff Sandoval no longer has an active claim for this
                                  28   motion. Nonetheless, Plaintiff Ruiz has shown that the warrantless thirty-day
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                                   1   impoundment of his vehicle violated the Fourth Amendment. Accordingly, the Court
                                   2   DENIES Plaintiff Sandoval’s motion, GRANTS Plaintiff Ruiz’s motion as to the stipulated
                                   3   Fourth Amendment question against the entity City Defendants, DENIES Plaintiff Ruiz’s
                                   4   motion as to the additionally raised issues and as to Defendant Schwedhelm in his personal
                                   5   capacity, GRANTS Defendant Freitas’s cross-motion for qualified immunity, GRANTS
                                   6   the City Defendants’ cross-motion for qualified immunity as to Defendant Schwedhelm in
                                   7   his personal capacity, and DENIES that cross-motion as to the stipulated Fourth
                                   8   Amendment question.
                                   9

                                  10   IT IS SO ORDERED.
                                  11

                                  12   Dated: 10/29/2014                         _____________________________________
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                                  13                                              THELTON E. HENDERSON
                                  14                                              United States District Judge
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